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                     IN THE UNITED STATES DISTRICT COURT  
                    FOR THE NORTHERN DISTRICT OF ILLINOIS  
                               EASTERN DIVISION 
 
LARRY FORD BANISTER, II                   ) 
                                          )              Case No. 17-cv-8940 
                                          ) 
                        Plaintiff,        )              Judge Ruben Castillo 
                                          ) 
      v.                                  )              Magistrate Michael T. Mason
                                          )                                         
CHEN HONGMEI, AKA LILY LIU,               ) 
AKA JOYCE LIU, LIU CHENGZE,               ) 
AKA ERIC LIU                              ) 
                                          ) 
                        Defendants.       ) 
__________________________________________) 

       PLAINTIFF’S MOTION FOR JUDGMENT ON THE ANSWER OF THIRD
          PARTY CITATION RESPONDENT AND TURNOVER OF FUNDS

       Now Comes the Plaintiff, L. Ford Banister, II, by and through one of his attorneys, The

Law Office of Charles E. McElvenny, and in support of Plaintiff’s Motion for Judgment on the

Answer of Third Party Citation Respondent, Paypal Inc., and for Turnover of Funds, states

as follows:

       1.     On February 26, 2019, Judgment was entered in this Court in favor of the

Plaintiff, L. Ford Banister, II (hereinafter “Plaintiff”), and against Defendants Chen Hongmei

(aka Lily Liu, aka Joyce Liu) and Liu Chengze (aka Eric Liu) in the total amount of $150,400.

See Exhibit A [Docket 63]. Since the date of the Judgment and service of the Citation to

Discover Assets, Plaintiff has not collected any amounts a due. There is now due the sum of

$150,400 (Judgment Balance Defendants Chen Hongmei and Liu Chengze).

       2.     A Citation to Discover Assets to a Third Party was served on Third Party

Paypal, Inc. (hereinafter “Paypal”) on April 9, 2019 and a Notice of Citation was served on



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Defendants Chen and Liu via email addresses above as authorized by the Final Judgment Order

[Doc. 62 at ¶ 6] on ​[Date]​ See Citation Notice, attached hereto as Exhibit B.

       3.      Paypal Inc. served its Answer on April 11, 2019 [Doc. 65] indicating that Paypal,

Inc. is in possession of non-exempt funds belonging to Defendants Chen and Liu and indicating

that $2,563.95 in two Paypal account was being withheld. See Paypal, Inc.’s Answer, attached

hereto as Exhibit C.

       4.       Supplementary        proceedings    to   enforce    a     judgment are governed by

Federal Rule of Civil Procedure 69(a)which provides that a district             court is to use state

procedure governing the execution of any such judgment. Fed. R. Civ. P. 69(a).

       5.      Section 5/2-1402 of the Illinois Code of Civil Procedure provides that when

assets of a judgment debtor not exempt from the satisfaction of a judgment are

discovered, a court may enter an order or judgment compelling the person cited to deliver said

assets. 735 ILCS 5/2-1402.

       6.      As      such,   the   Plaintiff is   entitled   to   the    non-exempt   property   of

Defendants Chen and Liu, the Judgment Debtor, in partial satisfaction of the Judgment

Balance remaining due.

       WHEREFORE, the Plaintiff L. Ford Banister, II, respectfully requests that this Court

enter a Judgment on its Third Party Citation and order Third Party Citation Respondent,

Paypal, Inc., to turnover to Plaintiff in partial satisfaction of the judgment, the property of

judgment debtors, Chen Hongmei and Liu Chengze, in the amount of $2,563.95, and for such

other relief that this Court deems just and proper.




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                                      Respectfully Submitted:
                                      /s/ Charles E. McElvenny
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